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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

June Tiramani,                              )
                                            )
       Plaintiff,                           )
                                            )
       v.                                   )      No.    12 C 10353
                                            )
I.C. System, Inc., a Minnesota              )
corporation,                                )
                                            )
       Defendant.                           )      Jury Demanded

                                        COMPLAINT

       Plaintiff, June Tiramani, brings this action under the Fair Debt Collection

Practices Act, 15 U.S.C. § 1692, et seq. ("FDCPA"), for a finding that Defendant’s debt

collection actions violated the FDCPA, and to recover damages for Defendant’s

violations of the FDCPA, and alleges:

                               JURISDICTION AND VENUE

       1.      This Court has jurisdiction pursuant to § 1692k(d) of the FDCPA, and 28

U.S.C. § 1331.

       2.      Venue is proper in this District because: a) the acts and transactions

occurred here; and, b) Defendant resides and transacts business here.

                                          PARTIES

       3.      Plaintiff, June Tiramani (“Tiramani"), is a citizen of the State of Florida,

from whom Defendant attempted to collect a delinquent consumer debt, despite the fact

that she was represented by the legal aid attorneys at the Chicago Legal Clinic's Legal

Advocates for Seniors and People with Disabilities program ("LASPD"), located in

Chicago, Illinois.
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        4.    Defendant, I.C. System, Inc. (“IC System”), is a Minnesota corporation that

acts as a debt collector, as defined by § 1692a of the FDCPA, because it regularly uses

the mails and/or the telephone to collect, or attempt to collect, delinquent consumer

debts. Defendant IC System operates a nationwide debt collection business and

attempts to collect debts from consumers in every state, including many thousands of

consumers in the State of Illinois. In fact, Defendant IC System was acting as a debt

collector as to the delinquent consumer debt it attempted to collect from Plaintiff.

        5.    Defendant IC System conducts business in Illinois, and, in fact, is licensed

as a collection agency in Illinois, see, record from the Illinois Division of Professional

Regulation, attached as Exhibit A. In fact, IC System acts as a debt collection agency in

Illinois.

                                FACTUAL ALLEGATIONS

        6.    Ms. Tiramani is a senior citizen, with limited assets and income, who fell

behind on paying her bills. When IC System began calling her to collect a debt

delinquent consumer debt, Ms. Tiramani sought the assistance of the legal aid attorneys

at the Chicago Legal Clinic’s LASPD program, regarding her financial difficulties and

Defendant IC System’s collection actions.

        7.    Accordingly, on December 7, 2012, one of Ms. Tiramani's attorneys at

LASPD informed IC System, in writing, that Ms. Tiramani was represented by counsel,

and directed IC System to cease contacting her, and to cease all further collection

activities because Ms. Tiramani was forced, by her financial circumstances, to refuse to

pay her unsecured debts. Copies of this letter and fax confirmation are attached as

Exhibit B



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      8.     Nonetheless, Defendant IC System called Ms. Tiramani directly including,

but not limited to, a telephone call on December 18, 2012, from telephone number 406-

540-1246, attempting to collect the debt.

      9.     Accordingly, on December 18, 2012, one of Ms. Tiramani’s LASPD

attorneys had to write to Defendant IC System again to demand that it cease

communications and cease collection of the debt. Copies of this letter and fax

confirmation are attached as Exhibit C.

      10.    Undeterred, Defendant IC System has repeatedly called Ms. Tiramani,

including calls on: December 20, 2012 at 1:27 p.m.; December 21, 2012 at 9:49 a.m.,

2:11 p.m., and 7:03 p.m.; and December 22, 2012 at 9:41 a.m. – all from phone number

406-540-1246.

      11.    Defendant IC System’s collection actions complained of herein occurred

within one year of the date of this Complaint.

      12.    Defendant IC System’s collection communications are to be interpreted

under the “unsophisticated consumer” standard. See, Gammon v. GC Services, Ltd.

Partnership, 27 F.3d 1254, 1257 (7th Cir. 1994).

                                      COUNT I
                      Violation Of § 1692c(c) Of The FDCPA --
             Failure To Cease Communications And Cease Collections

      13.    Plaintiff adopts and realleges ¶¶ 1-12.

      14.    Section 1692c(c) of the FDCPA prohibits a debt collector from

communicating with a consumer after a direction to cease communications, and from

continuing to demand payment of a debt that the consumer has indicated that they

refuse to pay. See, 15 U.S.C. § 1692c(c).



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      15.    Here, the letters (Exhibits B and C) from Ms. Tiramani’s, agent/attorney,

LASPD, told Defendant IC System to cease communications and cease collections. By

continuing to communicate regarding collection of the debt, Defendant IC System

violated § 1692c(c) of the FDCPA.

      16.    Defendant IC System’s violations of § 1692c(c) of the FDCPA render it

liable for actual and statutory damages, costs, and reasonable attorneys’ fees. See, 15

U.S.C. § 1692k.

                                   COUNT II
                  Violation Of § 1692c(a)(2) Of The FDCPA --
            Communicating With A Consumer Represented By Counsel

      17.    Plaintiff adopts and realleges ¶¶ 1-12.

      18.    Section 1692c(a)(2) of the FDCPA prohibits a debt collector from

communicating with a consumer if the debt collector knows the consumer is

represented by an attorney with respect to such debts and has knowledge of, or can

readily ascertain, such attorney’s name and address. See, 15 U.S.C. § 1692c(a)(2).

      19.    Defendant IC System knew that Ms. Tiramani was represented by counsel

in connection with her debts because her attorneys at LASPD had informed Defendant,

in writing (Exhibits B and C), that she was represented by counsel, and had directed

Defendant IC System to cease directly communicating with her. By directly calling Ms.

Tiramani, despite being advised that she was represented by counsel, Defendant IC

System violated § 1692c(a)(2) of the FDCPA.

      20.    Defendant IC System’s violations of § 1692c(a)(2) of the FDCPA render it

liable for actual and statutory damages, costs, and reasonable attorneys’ fees. See, 15

U.S.C. § 1692k.



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                                  PRAYER FOR RELIEF

       Plaintiff, June Tiramani, prays that this Court:

       1.     Find that Defendant IC System’s debt collection actions violated the

FDCPA;

       2.     Enter judgment in favor of Plaintiff Tiramani, and against Defendant IC

System, for actual and statutory damages, costs, and reasonable attorneys’ fees as

provided by § 1692k(a) of the FDCPA; and,

       3.     Grant such further relief as deemed just.

                                      JURY DEMAND

       Plaintiff, June Tiramani, demands trial by jury.

                                                     June Tiramani,

                                                     By: /s/ David J. Philipps____
                                                     One of Plaintiff’s Attorneys

Dated: December 27, 2012

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